          Case 1:20-cv-06516-VM Document 85 Filed 10/09/20 Page 1 of 2
                                          U.S. Department of Justice
[Type text]
                                                       United States Attorney
                                                       Southern District of New York
                                                      86 Chambers Street, 3rd Floor
                                                      New York, New York 10007


                                                       October 9, 2020

BY ECF

Hon. Victor Marrero, United States District Judge
United States District Court for the Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007-1312

       Re:     Jones et al. v. United States Postal Service et al., No. 20 Civ. 6516 (VM)

Dear Judge Marrero:

         This Office represents the defendants in the above-referenced case. We write on behalf
of all of the parties respectfully to request that the Court consider and, if it is acceptable to the
Court, approve the attached corrected Supplemental Guidance Document. See Exhibit A (clean
version). The attached corrected Supplemental Guidance Document would, if approved,
supersede the version that the Court approved earlier today. See ECF No. 84.

        The parties apologize for the inconvenience to the Court. After the parties submitted
their agreements regarding the Supplemental Guidance Document to the Court this afternoon,
see ECF No. 83, Plaintiffs noted that the Supplemental Guidance Document contains language,
elsewhere in that document, essentially identical to the provision that was the subject of the
parties’ first agreement. See ECF No. 83-1 at 2 (bullet point relating to extra delivery and
collection trips, as modified per the parties’ agreement); id. at 3 (unmodified provision titled
“Delivery/Collections”). The parties have conferred and have agreed to modify the second
instance of this language to match the first. A redline showing this additional change is attached
as Exhibit B.

       The parties thank the Court for its consideration of these issues.
         Case 1:20-cv-06516-VM Document 85 Filed 10/09/20 Page 2 of 2

 Page 2 of 2


                                        Respectfully,

COHEN&GREEN P.L.L.C.                    AUDREY STRAUSS
Attorneys for Plaintiffs                Acting United States Attorney for the
                                        Southern District of New York
                                        Attorney for Defendants

By: /s/ J. Remy Green, Esq.            By: /s/ Rebecca S. Tinio__      _
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